Case 5:10-cr-00013-DF-CMC Document 11 Filed 05/06/10 Page 1 of 4 PagelID#: 18

IN THE UNITED STATES DISTRICT COURT.
FOR THE EASTERN DISTRICT OF TEXAS

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TEXARKANA DIVISION -
UNITED STATES OF AMERICA § OE
§ mR
VS. § NO. 5:10cr13 me a
§ JUDGE FOLSOM : Se
MICHAEL ALLEN HAMMONDS §

FIRST SUPERSEDING INDICTMENT
THE UNITED STATES GRAND JURY CHARGES:
Count One

VIOLATION: 18 U.S.C. § 876 (Mailing
threatening communication)

On or about April 13, 2009, in Grayson County, in the Eastern District of Texas,
and elsewhere, the Defendant, Michael Allen Hammonds, knowingly did cause to be
delivered by the Postal Service according to the directions thereon a written
communication, dated April 7, 2009, addressed to Richard A. Schell, 302 Federal
Building, 101E. Pecan St., Sherman, TX 75090, and containing a threat to injure United

States District Court Judge Richard Schell, to-wit:

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In violation of 18 U.S.C. § 876.
Count Two

VIOLATION: 18 U.S.C. § 876 (Mailing
threatening communication)

On or about July 26, 2009, in Grayson County, in the Eastern District of Texas,
and elsewhere, the Defendant, Michael Allen Hammonds, knowingly did cause to be
delivered by the Postal Service according to the directions thereon a written
communication, addressed to Richard A. Shell, 302 Federal Building, 101E. Pecan St.,
Sherman, TX 75090, and containing a threat to injure United States District Court Judge

Richard Schell, to-wit:

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In violation of 18 U.S.C. § 876.
Case 5:10-cr-00013-DF-CMC Document 11 Filed 05/06/10 Page 3 of 4 PagelID #: 20

 

 

A TRUE BILL
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GRAND JURY FOREPERSON
JOHN M. BALES
UNITED STATES ATTORNEY
Sk DP/s
Date

 

Assistant United States Attorney

 
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NOTICE OF PENALTY

Count One and Count Two

Violation: 18 U.S.C. § 876 (Mailing threatening communication)
Penalty: A fine of not more than $250,000; imprisonment for

not more than 5 years, but if the communication is
addressed to a United States Judge then imprisonment
for not more than 10 years; a term of supervised
release of not more than 3 years.

Special Assessment: $100.00
